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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA

                                   CHARLESTON DIVISION

THE RIGHT REVEREND CHARLES G.                )   CASE NO.: 2:13-CV-00587-RMG
VONROSENBERG, INDIVIDUALLY                   )
AND IN HIS CAPACITY AS THE                   )
FORMER PROVISIONAL BISHOP OF                 )
THE EPISCOPAL CHURCH IN SOUTH                )
CAROLINA AND THE RIGHT                       )
REVEREND GLADSTONE B. ADAMS,                 )
III, INDIVIDUALLY AND IN HIS                 )       NOTICE OF APPEARANCE AND
CAPACITY AS THE PROVISIONAL                  )         TRANSFER WITHIN FIRM
BISHOP OF THE EPISCOPAL CHURCH               )
IN SOUTH CAROLINA,                           )
                                             )
              Plaintiffs,                    )
                                             )
vs.                                          )
                                             )
THE EPISCOPAL CHURCH,                        )
                                             )
              Plaintiff in Intervention,     )
                                             )
THE EPISCOPAL CHURCH IN SOUTH                )
CAROLINA,                                    )
                                             )
              Plaintiff in Intervention,     )
                                             )
vs.                                          )
                                             )
THE RIGHT REVEREND MARK J.                   )
LAWRENCE, THE CORPORATION                    )
CURRENTLY CALLING ITSELF “THE                )
PROTESTANT EPISCOPAL CHURCH IN               )
THE DIOCESE OF SOUTH CAROLINA”,              )
et al.                                       )
                                             )
              Defendants.                    )

       PLEASE TAKE NOTICE that representation of Defendant Trinity Church of Myrtle

Beach (hereinafter “Defendant”) , in the above-captioned matter has been transferred within the

firm of Copeland, Stair, Kingma & Lovell, LLP, from attorney J. Andrew Yoho to attorney C.
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Robin Schmidt. Attorney Paul E. Sperry will remain lead counsel for Defendant. All future

pleadings, motions, notices, discovery and correspondence herein should be directed to the

undersigned attorneys as counsel for Defendant.

      September 23, 2019.

                                           Respectfully submitted,

                                           COPELAND, STAIR, KINGMA & LOVELL, LLP


                                           By:    s/C. Robin Schmidt
                                                   PAUL E. SPERRY
40 Calhoun Street, Suite 400                       Federal Bar No.: 7606
Charleston, SC 29401
T: 843-727-0307                                    C. ROBIN SCHMIDT
E: psperry@cskl.law                                Federal Bar No.: 11365
E: rschmidt@cskl.law

                                           NELSON MULLINS RILEY & SCARBOROUGH, LLP

P.O. Box 1806                              By:    s/Andrew M. Connor
Charleston, SC 29402-1806                         Andrew M. Connor, Esq.
T: 843-853-5200                                   Susan MacDonald, Esq.
E: Andrew.connor@nelsonmullins.com                P.O. Box 1806
E: susan.macdonald@nelsonmullins.com              Charleston, SC 29402-1806

                                                  Counsel for Defendant Trinity Church of Myrtle
                                                  Beach
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

                                    CHARLESTON DIVISION

THE RIGHT REVEREND CHARLES G.                 )   CASE NO.: 2:13-CV-00587-RMG
VONROSENBERG, INDIVIDUALLY                    )
AND IN HIS CAPACITY AS THE                    )
FORMER PROVISIONAL BISHOP OF                  )
THE EPISCOPAL CHURCH IN SOUTH                 )
CAROLINA AND THE RIGHT                        )
REVEREND GLADSTONE B. ADAMS,                  )
III, INDIVIDUALLY AND IN HIS                  )       CERTIFICATE OF SERVICE
CAPACITY AS THE PROVISIONAL                   )
BISHOP OF THE EPISCOPAL CHURCH                )
IN SOUTH CAROLINA,                            )
                                              )
               Plaintiffs,                    )
                                              )
vs.                                           )
                                              )
THE EPISCOPAL CHURCH,                         )
                                              )
               Plaintiff in Intervention,     )
                                              )
THE EPISCOPAL CHURCH IN SOUTH                 )
CAROLINA,                                     )
                                              )
               Plaintiff in Intervention,     )
                                              )
vs.                                           )
                                              )
THE RIGHT REVEREND MARK J.                    )
LAWRENCE, THE CORPORATION                     )
CURRENTLY CALLING ITSELF “THE                 )
PROTESTANT EPISCOPAL CHURCH IN                )
THE DIOCESE OF SOUTH CAROLINA”,               )
et al.                                        )
                                              )
               Defendants.                    )

       I hereby certify that I have this day served a copy of the within and foregoing Notice of

Appearance and Transfer within Firm upon all parties to this matter via email, addressed to

counsel of record as follows:
     2:13-cv-00587-RMG        Date Filed 09/23/19          Entry Number 670   Page 4 of 7




Thomas S. Tisdale, Esq.                           David B. Beers, Esq.
Jason S. Smith, Esq.                              Adam M. Chud, Esq.
HELLMAN YATES & TISDALE                           Mary E. Kostel, Esq.
105 Broad Street, Third Floor                     GOODWIN PROCTER, LLP
Charleston, SC 29401                              901 New York Avenue, N.W.
tst@hellmanyates.com                              Washington, D.C. 20001
js@hellmanyates.com                               dbeers@goodwinlaw.com
                                                  achud@goodwinlaw.com
-and-                                             mkostel@goodwinlaw.com

Matthew Dempsey McGill, Esq.                      - and-
GIBSON DUNN & CRUTCHER
1050 Connecticut Avenue, NW                       Timothy O. Lewis, Esq.
Washington, DC 20036-5303                         Cheryl H. Ledbetter, Esq.
mmcgill@gibsondunn.com                            Allan R. Holmes, Esq.
                                                  GIBBS & HOLMES
Counsel for Bishop Charles G.                     171 Church Street, Suite 110
vonRosenberg, Bishop Gladstone B. Adams,          Charleston, SC 29401
III, The Episcopal Church in South Carolina       timolewis@gibbs-holmes.com
                                                  cledbetter@gibbs-holmes.com
                                                  aholmes@gibbs-holmes.com

                                                  Counsel for Plaintiff-in-Intervention The
                                                  Episcopal Church

C. Alan Runyan, Esq.                              C. Mitchell Brown, Esq.
Andrew S. Platte, Esq.                            NELSON MULLINS RILEY &
RUNYAN & PLATTE, LLC                              SCARBOROUGH LLP
2015 Boundary Street, Suite 239                   1320 Main Street, 17th Floor
Beaufort, SC 2902                                 Columbia, SC 29201
arunyan@runyanplatte.com                          mitch.brown@nelsonmullins.com
aplatte@runyanplatte.com                          Counsel for Bishop Mark J. Lawrence, The
Counsel for Bishop Mark J. Lawrence, The          Protestant Episcopal Church in the Diocese
Protestant Episcopal Church in the Diocese        of South Carolina; and the Trustees of the
of South Carolina; and the Trustees of the        Protestant Episcopal Church of South
Protestant Episcopal Church of South              Carolina, a South Carolina Corporate Body
Carolina, a South Carolina Corporate Body,
Church of the Cross, Inc. and Church of the
Cross Declaration of Trust, The Church of
Our Saviour, of the Diocese of South
Carolina, The Protestant Episcopal Church,
of the Parish of St. Phillip, in Charleston, in
the State of South Carolina, The Parish of St.
Michael in Charleston, in the State of South
Carolina and St. Michael’s Church
Declaration of Trust, The Vestry and Church
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Wardens of the Episcopal Church of the
Parish of St. Helena and the Parish Church
of St. Helena Trust, Trinity Episcopal
Church, Edisto Island, St. Davids Church,
The Church of the Epiphany, Vestry and
Wardens of the Episcopal Church of the
Parish of St. John’s Charleston County,
Vestry and Church Wardens of St. Jude’s
Church of Walterboro, The Vestries and
Churchwardens of the Parish of St. Andrew,
Old Saint Andrews Parish Church, Holy
Trinity, Grahamville, St. Alban’s Chapel, The
Citadel, St. John’s Episcopal, Charleston, and
St. Andrew’s Mission


Charles H. Williams, Esq.                        David Cox, Esq.
WILLIAMS & WILLIAMS                              BARNWELL WHALEY PATTERSON &
P.O. Box 1084                                    HELMS, LLC
Orangeburg, SC 29116-1084                        288 Meeting Street
chwilliams@williamsattys.com                     Charleston, SC 29401
Counsel for Bishop Mark J. Lawrence, The         dcox@barnwell-whaley.com
Protestant Episcopal Church in the Diocese       Counsel for Bishop Mark J. Lawrence, The
of South Carolina; and the Trustees of the       Protestant Episcopal Church in the Diocese
Protestant Episcopal Church of South             of South Carolina; and the Trustees of the
Carolina, a South Carolina Corporate Body        Protestant Episcopal Church of South
                                                 Carolina, a South Carolina Corporate Body

Thomas C. Davis, Esq.                            Lance Lawson, Esq.
HARVEY & BATTEY, PA                              MCNAIR LAW FIRM, PA
1001 Craven Street                               101 S. Tryon Street, Suite 2610
Beaufort, SC 29901                               Charlotte, NC 28280
tdavis@harveyandbattey.com                       llawson@mcnair.net
Counsel for Bishop Mark J. Lawrence, The         Counsel for Bishop Mark J. Lawrence, The
Protestant Episcopal Church in the Diocese       Protestant Episcopal Church in the Diocese
of South Carolina; and the Trustees of the       of South Carolina; and the Trustees of the
Protestant Episcopal Church of South             Protestant Episcopal Church of South
Carolina, a South Carolina Corporate Body        Carolina, a South Carolina Corporate Body

I. Keith McCarty, Esq.                           John E. Cuttino, Esq.
McCARTY LAW FIRM, LLC                            GALLIVAN, WHITE & BOYD, P.A.
P.O. Box 30055                                   Post Office Box 7368
Charleston, SC 29417                             Columbia, South Carolina 29202
ikeithmccarty@gmail.com                          jcuttino@gwblawfirm.com
Counsel for Bishop Mark J. Lawrence, The         Counsel for Church of the Holy Comforter,
Protestant Episcopal Church in the Diocese       St. Matthias Episcopal Church, Inc., St.
of South Carolina; and the Trustees of the       Matthews Church, Christ Episcopal Church,
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Protestant Episcopal Church of South Mars Bluff Community, Florence County,
Carolina, a South Carolina Corporate Body South Carolina, and Trinity Episcopal
                                          Church, Pinopolis

Lawrence B. Orr, Esq.                           Robert R. Horger, Esq.
ORR ELMORE AND ERVIN                            HORGER, BARNWELL & REID, LLP
P.O. Box 2527                                   P.O. Drawer 329
Florence, SC 29503                              1459 Amelia Street
lbo@orrfirm.com                                 Orangeburg, SC 29115
Counsel for All Saints Protestant Episcopal     rhorger@hbrllp.corn
Church, St. Bartholomews Episcopal Church,      Counsel for Church of the Redeemer
The Church of the Holy Cross, Church of the
Redeemer, The Vestry and Church Wardens
of the Parish of St. Matthew, Holy Apostles,
Barnwell, St. James Anglican, Blackville, St.
Barnabas, Dillon, Ascension, Hagood, St.
Paul’s Orangeburg, St. John’s Episcopal
Church of Florence, SC Church of the
Advent, Marion

C. Pierce Campbell, Esq.                        John Furman Wall, Esq.
TURNER, PADGET, GRAHAM & LANEY                  140 Wando Reach Court
P.O. Box 5478                                   Mt. Pleasant, SC 29464
Florence, SC 29501                              jwall@ncgs.com
pcampbell@turnerpadget.com                      Counsel for The Church of The Good
Counsel for Church of the Redeemer              Shephard, Charleston, SC

Henry P. Wall, Esq.                             William A. Scott, Esq.
BRUNER POWELL WALL AND MULLINS,                 PEDERSEN & SCOTT, PC
LLC                                             775 St. Andrews Blvd.
P.O. Box 61110                                  Charleston, SC 29407
Columbia, SC 29260                              bscott@pslawpc.com
hwall@bmnerpowell.com                           Counsel for Holy Trinity Episcopal Church
Counsel for The Church of The Good
Shephard, Charleston, SC

Harry R. Easterling, Jr., Esq.                  David B. Marvel, Esq.
EASTERLING LAW FIRM, PC                         DAVID B. MARVEL, LLC
Post Office Box 611                             P.O. Box 22734
Bennettsville, South Carolina 29512             Charleston, SC 29413
hreasterling@gmail.com                          dave@marvel.lawyer
Counsel for St. Davids Church and St. Paul’s    The Church of St. Luke and St. Paul,
Episcopal Church of Bennettsville, Inc.         Radcliffeboro
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Allan P. Sloan, III, Esq.
Joseph C. Wilson IV, Esq.
PIERCE, HERNS, SLOAN & WILSON
P.O. Box 22437
Charleston, SC 29413
chipsloan@piercesloan.com
joewilson@piercesloan.com
Counsel for Vestry and Church Wardens of
the Episcopal Church of the Parish of Christ
Church


September 23, 2019

                                               s/ Paul E. Sperry
                                               Paul E. Sperry, Esq.




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